            Case 1:21-cr-00738-BAH Document 78 Filed 07/05/23 Page 1 of 2




                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                           :    CRIMINAL NO. 21-CR-738 (BAH)
                                                    :
                         v.                         :    VIOLATIONS:
                                                    :    18 U.S.C. § 111(a)(1)
 MICHAEL OLIVERAS,                                  :    (Assaulting, Resisting, or Impeding
                                                    :    Certain Officers)
                              Defendant.            :

                        SECOND SUPERSEDING I N F O R M A T I O N

          The United States Attorney charges that at all relevant times:

                                            COUNT ONE

          On or about January 6, 2021, within the District of Columbia, MICHAEL OLIVERAS,

did forcibly assault, resist, oppose, impede, intimidate, and interfere with, an officer and employee

of the United States, and of any branch of the United States Government (including any member

of the uniformed services), and any person assisting such an officer and employee, while such

person was engaged in and on account of the performance of official duties, and where the acts in

violation of this section involve physical contact with the victim and the intent to commit another

felony.

          (Assaulting, Resisting, or Impeding Certain Officers, in violation of Title 18, United
          States Code, Section 111(a)(1))



                                                Respectfully submitted,

                                                Matthew M. Graves
                                                United States Attorney
                                                D.C. Bar No. 481052

                                                By: /s/ Ashley Akers
                                                ASHLEY AKERS
                                                MO Bar No. 69609
                                                Trial Attorney, Detailee
Case 1:21-cr-00738-BAH Document 78 Filed 07/05/23 Page 2 of 2




                           601 D Street NW
                           Washington, DC 20001
                           (202) 353-0521
                           Ashley.Akers@usdoj.gov




                              2
